Case 4:13-cr-40017-TSH Document 1 Filed 07/18/13 Page 1 of 1

 

 

 

 

 

 

 

 

 

 

PRoB.zz DOCKET NUMBER (Tran. Court)
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TRANSFER OF JURISDICTION DOCKET NUMBER (R€C. CO\HT)
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NAME AND ADDRESS oF SUPERVISED RELEASEE DISTRICT DIVISlON
,]ose ])iaz Rhode Island Providence
AKA: Joseph Diaz NAME oF sENTENClNG JUDGE
Massachusetts

Honorable William E. Smith

U.S. District Judge

DATES OF FROM; TO:

SUPERVISED RELEASE

April 8, 2013 April 7, 2016

OFFENSE

Count I: Felon in Possession ofa Firearm

 

PART l - ORDER TRANSFERRING JURISDICTlON

 

UNlTED STATES DISTRICT COURT FOR THE DISTR[CT OF RHODE ISLAND.

 

IT IS HEREBY ORDERED that pursuant to 18 U.S.C. 3605 the jurisdiction of the supervised releasee
named above be transferred with the records of this Court to the United States District Court for the DISTRICT
OF MASSACHUSETTS upon that Court’s order of acceptance of jurisdiction This Court hereby expressly
consents that the period of supervised release may be changed by the District Court to which this transfer is made
Without further lnquiry of this Court.*

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Dale Honorab[e Wi[lz'am E. Smith
U.S. District Court Judge

 

*This sentence may be deleted in the discretion of the transferring Court.

 

PART 2 - ORDER ACCEPTING JURISDICTION

 

UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MASSACHUSETTS

 

 

lT IS HEREBY ORDERED that jurisdiction over the above-named supervised releasee be accepted and
assumed by this Court from and after the entry of this order.

r/da

Date

 

 

 

